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           EXHIBIT H
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                 Infringement of U.S. Patent No. 8,687,354 by ASUS’s Representative Zenbook Flip 14

               Claim Language                                    Representative ASUS Zenbook Flip 14


1(p)   A hinge, comprising:              To the extent that the preamble of claim 1 is limiting, the exemplary ASUS Zenbook
                                         Flip 14 includes a hinge.




                                                              Hinge


                                                                        Hinge




                                         https://www.asus.com/us/laptops/for-home/zenbook/asus-zenbook-flip-14-ux461/


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                Claim Language                                  Representative ASUS Zenbook Flip 14

1(a)   a hinge block having a first hinge   The exemplary ASUS Zenbook Flip 14 comprises a hinge block with first and second
       member and a second hinge            hinge members.
       member; and
                                                                 Hinge Block

                                                                                               Second hinge member




                                                                                                First hinge member




1(b)   an inhibitor stopper disposed        The exemplary ASUS Zenbook Flip 14 comprises an inhibitor stopper attached to the
       between the first hinge member and hinge block, having first and second wings, disposed between first and second hinge
       the second hinge member, wherein members, and rotatable around an axis.
       the inhibitor stopper has a first                                             Inhibitor Stopper
       wing and a second wing, wherein                            Hinge Block
       the inhibitor stopper is attached to       First Wing                                            Second Wing
       the hinge block, and wherein the
       first and second wings are rotatable
       around an axis;
                                             First Hinge                                                  Second Hinge
                                             Member                                                       Member




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                Claim Language                                       Representative ASUS Zenbook Flip 14

1(c)   wherein the first hinge member has      The exemplary ASUS Zenbook Flip 14 comprises a first hinge member with outer
       a first notch at an outer perimeter     perimeter notch and second hinge member with outer perimeter notch.
       of the first hinge member and the
       second hinge member has a second
       notch at an outer perimeter of the                      First Outer              Second Outer
       second hinge member;                                    Perimeter Notch          Perimeter Notch



                                                                                                           Second Hinge
                                                 First Hinge
                                                                                                           Member
                                                 Member




1(d)   wherein the first hinge member is       The exemplary ASUS Zenbook Flip 14 comprises a first hinge member adapted to
       adapted to attach to a first housing;   attach to a first housing.




                                                                                           First Hinge Member




                                                                             Adapted to attach
                                                                             to First Housing



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                Claim Language                                    Representative ASUS Zenbook Flip 14

1(e)   wherein the second hinge member       The exemplary ASUS Zenbook Flip 14 comprises a second hinge member adapted to
       is adapted to attach to a second      attach to a second housing.
       housing;                                                              Adapted to attach
                                                                             to Second Housing



                                                                                                     Second
                                                                                                     Hinge
                                                                                                     Member




1(f)   wherein the second wing of the        The exemplary ASUS Zenbook Flip 14 comprises an inhibitor stopper which engages
       inhibitor stopper engages the         the second notch of the second hinge member with second wing to prevent second
       second notch to prevent the second    hinge member from rotating when first hinge member rotates from 0° to 180°.
       hinge member from rotating when
       the first hinge member rotates from
       zero degrees to 180 degrees.                                                      Second Notch
                                              Inhibitor Stopper          Second Wing


                                                                                                               Second
                                                                                                               Hinge
                                                                                                               Member




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               Claim Language                                    Representative ASUS Zenbook Flip 14

7(p)   An electronic computing device,   To the extent that the preamble of claim 7 is limiting, the exemplary ASUS Zenbook
       comprising:                       Flip 14 includes an electronic computing device known as a “computer,” “Notebook
                                         PC,” and “convertible laptop.”




                                         https://www.asus.com/us/laptops/for-home/zenbook/zenbook-14-flip-oled-up3404/




                                         https://dlcdnets.asus.com/pub/ASUS/nb/UP3404VA/0409_E20495_UP3404VA_A.pdf?model=UP340
                                         4VA



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               Claim Language                                     Representative ASUS Zenbook Flip 14

7(a)   a lower housing;                   The exemplary ASUS Zenbook Flip 14 comprises a lower housing.




                                                                                                 Lower Housing



                                          https://www.asus.com/us/laptops/for-home/zenbook/asus-zenbook-flip-14-ux461/

7(b)   an upper housing; and              The exemplary ASUS Zenbook Flip 14 comprises an upper housing.




                                                                                               Upper Housing




                                          https://www.asus.com/us/laptops/for-home/zenbook/asus-zenbook-flip-14-ux461/




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                Claim Language                                        Representative ASUS Zenbook Flip 14

7(c)   a plurality of hinge blocks attached   The exemplary ASUS Zenbook Flip 14 comprises a plurality of hinge blocks attached
       to confronting edge portions of the    to confronting edge portions of the lower housing and the upper housing.
       lower housing and the upper
       housing, wherein each of the hinge
       blocks has an inhibitor stopper,
       wherein the inhibitor stopper is
       operatively coupled to the lower
       housing and the upper housing in                                                                  Hinge Blocks attached to
       such a way that the upper housing                                                                 confronting edge portions
       is rotatable synchronously over
       substantially 360° with respect to
       the lower housing on the plurality
       of hinge blocks.




                                              https://www.asus.com/us/laptops/for-home/zenbook/asus-zenbook-flip-14-ux461/




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Claim Language                             Representative ASUS Zenbook Flip 14
                      The exemplary ASUS Zenbook Flip 14 includes a hinge block having an inhibitor
                      stopper, operatively coupled to the lower and upper housing.


                                             Hinge Block
                                                               Inhibitor Stopper
                          To Lower
                          Housing                                                      To Upper
                                                                                       Housing




                                  Operatively
                                  Coupled




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Claim Language                              Representative ASUS Zenbook Flip 14
                      Such coupling of inhibitor stopper allows the upper housing of the exemplary ASUS
                      Zenbook Flip 14 to synchronously rotate 360° with respect to the lower housing.




                      https://dlcdnets.asus.com/pub/ASUS/nb/UP3404VA/0409_E20495_UP3404VA_A.pdf?model=UP340
                      4VA




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